                FOR PUBLICATION

  UNITED STATES COURT OF APPEALS
       FOR THE NINTH CIRCUIT

SCOTT MILLER, an individual;              No. 23-35197
MICHAEL SPAULDING, an
individual,                              D.C. No. 2:18-cv-
                                            00506-MJP
             Plaintiffs-Appellants,

 v.                                         OPINION

KSHAMA SAWANT, an individual,

             Defendant-Appellee,

and

CITY OF SEATTLE, a municipal
corporation,

             Defendant.

      Appeal from the United States District Court
        for the Western District of Washington
      Marsha J. Pechman, District Judge, Presiding

          Argued and Submitted May 6, 2024
                 Seattle, Washington

                 Filed August 22, 2024
2                        MILLER V. SAWANT


    Before: William A. Fletcher, Carlos T. Bea, and John B.
                   Owens, Circuit Judges.

                     Opinion by Judge Bea


                          SUMMARY *


            Expert Witness Deposition Expenses

    The panel affirmed the district court’s grant of defendant
Kshama Sawant’s motion for recovery of expert witness
deposition expenses, including fees for time spent in
preparation for deposition, in a 42 U.S.C. § 1983 action
brought by two Seattle police officers alleging state law
claims for defamation and outrage.
    The panel held that the district court did not err when it
granted Sawant’s motion for recovery of expert witness
deposition expenses. The plain text of Federal Rule of Civil
Procedure 26 allows for the recovery of reasonable expenses
for the time an expert witness, whose opinions may be
presented    at    trial,   spends      preparing     for   a
deposition. Plaintiffs’ objection to the admissibility of the
expert’s opinions did not obviate their obligation to pay the
expert a reasonable fee under Rule 26. Joining the Fifth,
Sixth, Seventh, and D.C. Circuits, the panel held that
reasonable expert witness deposition preparation fees are
recoverable under Rule 26. Here, the expert witness


*
 This summary constitutes no part of the opinion of the court. It has
been prepared by court staff for the convenience of the reader.
                     MILLER V. SAWANT                     3


deposition preparation fees were reasonable, and their award
did not result in manifest injustice.
    In a concurrently filed memorandum disposition, the
panel affirmed the district court’s grant of Sawant’s motion
for summary judgment on the state law claims for
defamation and outrage and the district court’s taxation of
costs.



                       COUNSEL

Joseph Toups (argued), Daniel A. Brown, and Sumeer
Singla, Williams Kastner, Seattle, Washington; Jessica Cox,
Jackson Lewis PC, Seattle, Washington; for Plaintiff-
Appellant.
Darin Dalmat (argued), Dmitri Iglitzin, and Alyssa Garcia,
Barnard Iglitzin &amp; Lavitt LLP, Seattle, Washington; James
E. Lobsenz, Carney Badley Spellman PS, Seattle,
Washington; for Defendant-Appellee.
4                         MILLER V. SAWANT


                             OPINION

BEA, Circuit Judge:

    In February 2016, Plaintiffs-Appellants Scott Miller and
Michael Spaulding, two Seattle Police officers, fatally shot
Che Andre Taylor, a Black man, as they tried to arrest him.
Four days after the shooting, Defendant-Appellee Kshama
Sawant, then a member of the Seattle City Council, told a
crowd of protestors in front of the Seattle Police Department
Headquarters that Taylor’s shooting was a “blatant murder
at the hands of the police.” Following an inquest into
Taylor’s killing, prosecutors declined to file criminal
charges against Miller and Spaulding on the ground that
there was insufficient evidence to prove that they killed
Taylor with the requisite “malice” to be guilty of criminal
homicide, as required by Washington law. Roughly three
months after the inquest concluded, Sawant told a crowd of
protestors that Taylor was “murdered by the police.” Miller
and Spaulding filed suit in federal court, seeking relief under
42 U.S.C. § 1983 and alleging state law claims for
defamation and outrage (i.e., intentional infliction of
emotional distress), as well as “federal defamation,” against
Sawant. 1     The district court dismissed the “federal
defamation” claim when it granted Sawant’s motion for
partial judgment on the pleadings, but chose to exercise
supplemental jurisdiction over the remaining state law
defamation and outrage claims. The district court granted
Sawant’s motion for summary judgment as to the state law

1
 Miller and Spaulding have abandoned their federal claim for retaliation
under the First Amendment. They also brought claims against the City
of Seattle, but later voluntarily dismissed those claims. Thus, the City
of Seattle is no longer a party.
                      MILLER V. SAWANT                      5


defamation and outrage claims, and Miller and Spaulding
appeal the district court’s grant of that motion.
    We have jurisdiction pursuant to 28 U.S.C. § 1291. In a
concurrently filed memorandum disposition, we affirm the
district court’s grant of Sawant’s motion for summary
judgment and the district court’s taxation of costs.
    In this opinion, we consider only whether the district
court erred when it granted Sawant’s motion for recovery of
expert witness deposition expenses, which included fees for
time spent in preparation for deposition. We conclude the
district court did not err when it granted this motion because
the plain text of Federal Rule of Civil Procedure 26 allows
for the recovery of reasonable expenses for time an expert
witness, whose opinions may be presented at trial, spends
preparing for a deposition.
                              I.
    In December 2022, Miller and Spaulding deposed two
witnesses who Sawant identified as experts in her initial
disclosures. Sawant had retained the identified experts as
potential defense witnesses. That same month, Sawant sent
Miller and Spaulding the experts’ invoices and requested
payment for the fees her expert witnesses had incurred in
responding to Miller and Spaulding’s discovery, including
time spent preparing for the deposition. Sawant sought
payment of the fees pursuant to Federal Rule of Civil
Procedure 26(b)(4)(E), which provides:

       Unless manifest injustice would result, the
       court must require that the party seeking
       discovery: (i) pay the expert a reasonable fee
       for time spent in responding to discovery
       under Rule 26(b)(4)(A) or (D); and (ii) for
6                     MILLER V. SAWANT


       discovery under (D), also pay the other party
       a fair portion of the fees and expenses it
       reasonably incurred in obtaining the expert’s
       facts and opinions.

     In January 2023, Sawant sent Miller and Spaulding a
letter that requested reimbursement of the expert witness
deposition fees she had paid. Miller and Spaulding did not
respond to Sawant’s letter or provide payment. After the
district court granted summary judgment to Sawant in March
2023, Sawant sent Miller and Spaulding an email that again
requested reimbursement of the fees. Despite Sawant’s
email, Miller and Spaulding failed to provide payment.
Sawant covered the costs after Plaintiffs refused to pay, and
filed a motion to compel payment.
    As relevant here, the expert witness deposition fees
Sawant sought included compensation for time the witnesses
had spent preparing for their depositions. Specifically,
Sawant sought $1,367.50 for Professor Gregory Gilbertson’s
expert witness deposition fees (2.5 hours of deposition
preparation at $250.00 per hour and 1.5 hours of deposition
testimony at $495.00 per hour), and $1,770.00 for Lisa
Daugaard’s expert witness deposition fees (5.9 hours of
deposition preparation, deposition attendance, and transcript
review and correction at $300.00 per hour).
    In June 2023, the district court granted Sawant’s motion,
noting there is no clear guidance from the Ninth Circuit
regarding whether the reimbursement of preparation time is
permitted under Rule 26, but concluding that Sawant’s
request was reasonable, that awarding the fees “falls
squarely within the ambit of Rule 26(b)(4)(E),” and that no
manifest injustice would result from awarding the fees.
                      MILLER V. SAWANT                      7


                             II.
    Though we “typically review a district court’s discovery
rulings for abuse of discretion,” “[w]here the question is not
whether the district court properly exercised its discretion
under a federal rule, but rather turns on the legal issue of
whether the court properly interpreted the rule’s
requirements, we review that question de novo.” Republic
of Ecuador v. Mackay, 742 F.3d 860, 864 (9th Cir. 2014).
    A district court’s factual determinations underlying an
evidentiary ruling are reviewed for clear error. See Elosu v.
Middlefork Ranch Inc., 26 F.4th 1017, 1023 (9th Cir. 2022).
                             III.
                             A.
    Miller and Spaulding argue that the district court erred
when it granted Sawant’s motion for Daugaard’s expert
witness deposition expenses without first assessing whether
she qualified as an expert under the Federal Rules of
Evidence and Daubert v. Merrell Dow Pharmaceuticals,
Inc., 509 U.S. 579 (1993). Miller and Spaulding charge the
district court with “offer[ing] no analysis” of Daugaard’s
expertise and further aver that Sawant is not entitled to fees
unless Daugaard qualified as an expert. We disagree.
   First, we note that, in opposition to Sawant’s motion for
summary judgment, Plaintiffs challenged Daugaard’s
expertise—but the district court declined to decide whether
Daugaard is an expert because the district court did not rely
on Daugaard’s opinions in its summary judgment ruling.
Hence, there was never any finding by the district court that
Daugaard is not an expert. To the contrary, when the district
court granted Sawant’s motion for expert witness deposition
expenses, the district court expressly found that, given
8                     MILLER V. SAWANT


“Daugaard’s qualifications and the nature of her
opinions, . . . she was employed in this action in the role of
an expert and . . . her time spent is recoverable.” Miller and
Spaulding ignore this factual determination by the district
court and identify no reasons why the district court clearly
erred in making it. See Elosu, 26 F.4th at 1023.
    In any event, Miller and Spaulding’s argument that
Daugaard’s deposition expenses are unrecoverable because
her testimony would have been excluded under Federal Rule
of Evidence 702 and Daubert is at odds with the plain text
of Rule 26, which provides that a district court “must
require” that a deposing party pay “a reasonable fee for time
spent in responding to discovery” by “an expert whose
opinions may be presented at trial.” Fed. R. Civ. P.
26(b)(4)(A), (E) (emphasis added). Thus, Miller and
Spaulding’s objection to the admissibility of Daugaard’s
opinions does not obviate their obligation to pay Daugaard a
reasonable fee under Rule 26. We agree with the Seventh
Circuit’s conclusion that “[t]he clear import of Rule 26 is
that the district court generally must order a party to pay for
the cost of deposing its adversary’s expert regardless of
whether the expert’s opinion ultimately is presented at trial.”
Crabtree v. Experian Info. Sols., Inc., 948 F.3d 872, 884 (7th
Cir. 2020) (“Crabtree also misses the mark in contending
that the district court had to rule on his Daubert motion to
exclude Experian’s expert testimony before considering
Experian’s       application    for    costs    under     Rule
26(b)(4)(E). . . . Had the claim gone to trial, Experian’s
                        MILLER V. SAWANT                          9


expert may have testified and the award of fees was therefore
appropriate.”). 2
                                B.
   Miller and Spaulding also argue the district court erred
when it granted Sawant’s motion for expert witness
deposition fees for Gilbertson’s and Daugaard’s time spent
preparing for their depositions. That is, Miller and
Spaulding maintain that Rule 26(b)(4)(E) permits expert fees
only for time spent during a deposition, and not for time
spent preparing for a deposition.
    This circuit has not yet addressed the question whether
expert witness deposition fees for preparation of testimony
are recoverable under Rule 26(b)(4)(E). However, as the
Sixth Circuit recently noted, “all of the circuit courts to have
considered this question have held that experts may seek
compensation for deposition preparation.” Phillips v.
Tangilag, 14 F.4th 524, 543 (6th Cir. 2021) (first citing
Halasa v. ITT Educ. Servs., Inc., 690 F.3d 844, 852 (7th Cir.
2012) (holding district court did not abuse discretion in
awarding expert witness deposition preparation fees), then
citing Knight v. Kirby Inland Marine Inc., 482 F.3d 347, 356
(5th Cir. 2007) (same), and then citing Haarhuis v. Kunnan
Enters., Ltd., 177 F.3d 1007, 1015 (D.C. Cir. 1999) (same)).
   In our circuit, though most district courts have held that
preparation fees are recoverable under Rule 26, some district
courts have reached the opposite conclusion. Compare
Daniel v. Coleman Co., Inc., No. 06-5706 KLS, 2008 WL
501112, at *1 (W.D. Wash. Feb. 19, 2008) (granting motion

2
  We do not decide, however, whether a party may still recover fees
under Rule 26(b)(4)(E) if his expert has already been precluded from
testifying under Daubert.
10                     MILLER V. SAWANT


to compel payment of expert witness deposition fees that
included “Preparation Time”), and Torvik v. Ins. Co. of the
State of Pennsylvania, No. C09-886RAJ, 2011 WL
13100743, at *3 (W.D. Wash. Feb. 14, 2011) (holding expert
witness deposition preparation fee “reasonable” under Rule
26), and O’Neal v. Century Ins. Co., No. 13-00058 ACK-
RLP, 2015 WL 12697660, at *2 (D. Haw. Aug. 31, 2015)
(same), with 3M Co. v. Kanbar, No. C06-01225 JW (HRL),
2007 WL 2972921, at *3 (N.D. Cal. Oct. 10, 2007) (denying
motion to recover preparation time where there was no
“controlling Ninth Circuit authority on this point,” the case
was not “especially complex,” and “no extenuating
circumstances” “require[d] additional preparation time”),
and Rock River Commc’ns, Inc. v. Universal Music Grp.,
276 F.R.D. 633, 635–37 (C.D. Cal. 2011) (holding deposing
party not required to pay for expert witness deposition
preparation fees).
    We join the Fifth, Sixth, Seventh, and D.C. Circuits in
holding that reasonable expert witness deposition
preparation fees are recoverable under Rule 26. Miller and
Spaulding’s suggestion that such fees are never recoverable
cannot be squared with Rule 26’s plain text, which requires
the “party seeking discovery” to “pay the expert a reasonable
fee for time spent in responding to discovery under Rule
26(b)(4)(A).” Fed. R. Civ. P. 26(b)(4)(E) (emphasis added);
see also Phillips, 14 F.4th at 543 (“This text is not limited to
an expert’s time in the deposition; it covers the expert’s ‘time
spent in responding to discovery.’ The time spent preparing
for a deposition falls within this language.”).
   Miller and Spaulding raise several policy concerns based
on “costs and incentives” and “the potential for abuse” if
deposition preparation fees are recoverable. But the policy
concerns they raise are addressed by Rule 26’s existing
                      MILLER V. SAWANT                     11


textual limitations on recoverable fees: namely, that fees
must be “reasonable,” and their award must not result in
“manifest injustice.” Fed. R. Civ. P. 26(b)(4)(E).
    Here, the expert witness deposition preparation fees that
were awarded to Sawant were reasonable and their award did
not result in manifest injustice. Gilbertson spent only 2.5
hours preparing and Daugaard only 2.2 hours, and Miller and
Spaulding do not contest the fairness of Gilbertson’s and
Daugaard’s hourly rates.
                             IV.
    For these reasons, we conclude that the district court did
not err when it granted Sawant’s motion for recovery of her
expert witnesses’ deposition fees.
   AFFIRMED.
